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Darren M. Richie (SBN 316116)
darren@dre.law
DRE, A.P.C.
222 N. Canon Drive, Suite 201
Los Angeles, CA 90210
(213) 265-7888

Attorney for Defendant Mark S. Ibrahim

  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   CASE NO. 1:21-cr-00496-TJK-1

                                            DEFENDANT IBRAHIM’S
     v.                                     REPLY TO THE UNITED
                                            STATES OF AMERICA’S
MARK S. IBRAHIM,                            RESPONSE IN OPPOSITION
                                            TO DEFENDANTS’ MOTION
                Defendant.                  TO DISMISS THE
                                            INDICTMENT




                   MOTION TO DISMISS THE INDICTMENT

      Defendant, Mark S. Ibrahim (“Mr. Ibrahim”), moved this Court for an order

dismissing the Indictment in this matter pursuant to the Federal Rules of Criminal

Procedure Rules 12(b)(3)(A)(iv) and 12(b)(3)(B)(iii). The Government opposes the

Defendant’s Motion to Dismiss the Indictment. Mr. Ibrahim hereby submits this reply

brief to the Government’s Response in Opposition to Defendant’s Motion to Dismiss.

The Government’s Opposition relies on statements of facts and photographs, rather than



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addressing the relevant legal arguments in favor of dismissal. In support of this Reply,

Mr. Ibrahim offers the Court the following:

                                        ARGUMENT

   A.      Count 4 – 18 U.S.C. § 1001(a)(2)

        In the Opposition to Defendant’s Motion to Dismiss, the Government alleges that

Mr. Ibrahim’s evidentiary challenge to Count Four—i.e., his false statement charge under

18 U.S.C. § 1001(a)(2)—is unsupported. This is simply not the case.

        In this case, the Court must accept that Mr. Ibrahim made his statement,

qualifying it with “not that I know of.” Applying the law to the facts at hand, Mr.

Ibrahim’s “not that I know of,” indicates that his prior statement was made without

complete knowledge and cannot be taken as true on its face. The truth of the facts

alleged in the charging instrument demonstrate that Mr. Ibrahim did not have the

requisite intent to lie to a federal agent and did not do so.

   B.      Count Two – 40 U.S.C. § 5104(d)

        The Government, in its opposition, submitted many photographs of Mr.

Ibrahim on January 6, 2021. These photographs, however, do not disprove that Mr.

Ibrahim was acting out of necessity when he jumped on the statute. Many of these

pictures in the Government’s opposition were taken out of context. In this case,

photograph 31 in the United States’ opposition does depict Mr. Ibrahim on the Peace

Monument. However, there is nothing indicating that he was doing so for any



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purpose other than for safety reasons.

   C.      Count One – 18 U.S.C. § 1752(a)(1) and (b)(1)(A)

        The Government provides many photographs of Mr. Ibrahim, with his back to

the crowd, where his DEA badge and firearm are slightly visible. However, this does

not disprove the fact that he was a federal agent the time the photographs were taken,

and was permitted to carry his official credentials and firearm. According to Mr.

Ibrahim’s training at the academy, DEA are strongly encouraged to carry their

firearms while off duty; Mr. Ibrahim was following his training guidelines received at

the DEA Academy in Quantico.

        Further, the Government spends much of its Opposition discussing Mr.

Ibrahim’s alleged misuse of his capacity or office. However, Mr. Ibrahim was not

charged with such conduct and it is not relevant to the arguments presented here. It is

not illegal to flash a government badge or gun. In fact, many other off-duty officers

were carrying their badges and firearms on January 6, 2021. It is common practice for

federal agents to take pictures displaying their badges and guns for personal use.

There is no evidence that Mr. Ibrahim’s pictures were taken for any other purpose

than his own personal use.

   D.      Counts One, Two, Three, and Four

        In the Government’s opposition, it is alleged that any purported selective

prosecution claim fails. While it is acknowledged that the conscious exercise of some



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selectivity in prosecution is not in itself a constitutional violation, selective

prosecution based upon an unjustifiable standard is unconstitutional. See Oyler v.

Boles, 368 U.S. 448, 457 (1962).

      The photographs in the Government’s opposition further support Mr. Ibrahim’s

position that the Government charged him more severely than other similarly situated

January 6 protestors. In some cases, identically situated protesters, such as Mr.

Ibrahim’s brother a Special Agent who is still currently a Special Agent with the FBI,

were not charged at all and are still actively employed by Department of Justice. The

Border Patrol Officer at Justice for January 6th rally, discussed in Mr. Ibrahim’s

Motion for Dismissal, was carrying a gun; although this officer was arrested, the

Department of Justice ultimately dropped all charges against him. As such, Mr.

Ibrahim seeks dismissal of the Indictment, asserting selective enforcement or

prosecution.

      Figure 13 in the Government’s opposition depicts Mr. Ibrahim with his

brother, both standing near a roundabout, demonstrating that they were both located

in the same area of the Capitol. Mr. Ibrahim’s brother is a FBI Special Agent, had his

firearm and badge with him, yet he was neither charged nor fired from the

Department of Justice. It is immaterial that Mr. Ibrahim’s brother was candid with

law enforcement when questioned about his own conduct, as was Mr. Ibrahim. The

fact that they were candid with law enforcement has no basis in negating a selective



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prosecution claim. Moreover, it is immaterial whether Mr. Ibrahim was on or off

duty on January 6, 2021, as he was officially induced and asked to be there by Jorge

Calzadilla.

        On January 5, 2021, Mr. Ibrahim, who had a pre-purchased ticket from

Washington DC to California, had no intention of attending the January 6, 2021,

rally. Mr. Ibrahim had a change of heart when he was asked to go by Mr. Jorge

Calzadilla, a long standing FBI information source. Mr. Ibrahim continued to

encourage Mr. Calzadilla to leave the January 6, 2021 rally, and actively trying to

distract and dissuade Mr. Calzadilla from entering the Capitol Building. Mr.

Calzadilla ignored Mr. Ibrahim’s pleas to leave, but he would not listen. In the past,

Mr. Calzadilla had assaulted Mr. Ibrahim, but Mr. Ibrahim wanted to help Mr.

Calzadilla, a veteran, who was struggling with PTSD and had even allowed Mr.

Calzaldila to live with him in the past. Therefore, no matter whether Mr. Ibrahim was

on or off duty, Mr. Ibrahim was officially induced to be present at the rally at the

request of Mr. Calzadilla and did not want to leave his veteran friend alone in a

dangerous environment.

   E.      Counts One, Two, Three, and Four – Prosecutorial Misconduct

        In its discovery, the Government provided the Defense with the interview of

Mr. Calzadilla by Special Agent Jason Higley. However, the Defense has been made

aware by Mr. Calzadilla that Special Agent Higley and Mr. Calzadilla were both



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involved in the Cliven Bundy standoff investigation in 2014. This information was

never provided to the Defense. It is relevant and highly important evidence in the

Defendant’s case because Mr. Calzaldilla will likely be called as a witness by the

Government in this matter. Therefore, this evidence should have been disclosed to the

Defense in discovery and further goes to the prosecutorial misconduct in this case.

   F.      Counts One, Two, Three, and Four

        With respect to the Government’s remaining arguments, Defendant relies on

Defendant’s Motion to Dismiss and memorandum of Law in Support of Motion to

Dismiss.

                      CONCLUSION AND RELIEF REQUESTED

        WHEREFORE, Defendants respectfully move the Court to grant its Motion to

Dismiss the United States’ Indictment.

Dated: February 18, 2022                     Respectfully Submitted

                                             DRE LAW, A.P.C.


                                             By:   /s/Darren M. Richie
                                                   Darren M. Richie
                                                   Attorney for Defendant
                                                   MARK S. IBRAHIM




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